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 8                       UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
10
11 In the Disciplinary Matter of            )       ORDER OF
                                            )       DISBARMENT/SUSPENSION
12                                          )
   ATTORNEY DISCIPLINARY                    )
13 ACTIONS                                  )
                                            )
14                                          )
15
16        On March 26, 2010, the Court issued a number of Orders to Show Cause
17 why certain attorneys should not be disbarred or suspended from the Bar of this
18 Court as a result of suspension or disbarment from the Supreme Court of
19 California, resignation with charges pending accepted by the Supreme Court of
20 California, or enrollment as an involuntary inactive member of the State Bar of
21 California with cases pending in this Court. Written responses to each Order to
22 Show Cause were due thirty (30) days from the date of the Order to Show Cause.
23 The Court has not received a response to its March 26, 2010 Orders to Show
24 Cause from any attorney listed in Attachment “A” to this Order, unless otherwise
25 noted therein. IT IS THEREFORE ORDERED that the attorneys listed in
26 Attachment “A” to this Order are suspended or disbarred from the practice of law
27 in this Court pursuant to Rule 83-3.2 of the Local Rules for the Central District of
28 California.

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 1              IT IS FURTHER ORDERED that any attorney listed in Attachment
 2 “A” to this Order who has been suspended or disbarred from the Bar of this Court
 3 will be reinstated upon proof of his or her reinstatement as an active member in
 4 good standing with the State Bar of California.
 5              An attorney registered to use the Court’s Electronic Case Filing
 6 System (ECF) who is suspended or disbarred by this Court will not have access to
 7 file documents electronically until the attorney has been reinstated by the State Bar
 8 of California and reinstated to the Bar of this Court.
 9              This Order is being served pursuant to Federal Rule of Civil
10 Procedure 5 to the current addresses of the attorneys listed in Attachment “A” as
11 on file with the State Bar of California as of March 26, 2010.
12
13              DATE:     May 7, 2010
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17                                                      Audrey B. Collins
                                                 Chief United States District Judge
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 1                                   Attachment A
 2
 3 Disbarment
 4 1. James Brian Markum, #170326, MC-10-125 ABC
 5 2. Patrick Dayton McNeal, #62102, MC-10-126 ABC
 6 3. Brian Saunders, #176100, MC-10-127 ABC
 7 Suspension
 8 *1. David Jay Hancock, #174784, MC-10-128 ABC
 9        Provident Bank v. Hughes, CV-07-432 JLQ (JCRx)
10        Schaefer v. Edwards, CV-07-801 SJO (PJWx)
11 2. Darlene Marie Ricker, #151653, MC-10-129 ABC
12 3. Daniel Scott Brown, #158025, MC-10-130 ABC
13 4. Antonio Lloyd Cogliandro, #73756, MC-10-132 ABC
14 5. Erin H. Humphries, #110669, MC-10-133 ABC
15 6. Andrew Levy, #153999, MC-10-134 ABC
16 7. Fari Bari Nejadpour, #216925, MC-10-136 ABC
17 8. John Joseph O’Kane, III, #97772, MC-10-137 ABC
18 9. Christopher Roman Rector, #212244, MC-10-138 ABC
19 10. Robert Andrew Karpuk, #933322, MC-10-139 ABC
20 11. Kathleen Marie Lee, #144699, MC-10-140 ABC
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22 *Has active cases pending in this court as of March 24, 2010.
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